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COMPOSITE EXHIBIT “A”

 
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one Declaration of Robert D. Moody yess oe
| Robert D. Moody submit this declaration and declare the following: |

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. PA Ay was retained by: the Plaintf, bya and throu counsel o on n May 29, 2017.

 

 

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oe prevented access by the Plaintiff. mo

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o d. ‘lt is my ‘opinion that this limited access or r prohibition is related to the
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Under penalty of perjury, hereby @ and. affirm the following statements are true and correct:

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‘Robert D. oa ID CISA ‘C8 ACE

   

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Robert D. Moody, JD CISA CISM ACE
Rmoody@fds.giobal

Personal Statement

 

During my tenure as a professional, I have had the pleasure of working with many brilliant, capable
colleagues that have helped or influenced millions of lives. As the work and time progressed, I have
always tried to keep in mind: “life isn’t complicated, it just seems that way” (author unknown).

By always dissecting complicated problems to their base elements, one can always determine both the
source and sclution to the issue. This is the secret to my success!

As a seasoned professional, I have watched the world change. I have seen technology become more
entrenched in our daily lives and I have seen this technology misused so that the users can be exploited.

Professionals of ali disciplines must now rise to the challenge and focus on more than self-interest. We are
in a time where professionals must be renaissance men. These men and women must now engage in
lifelong learning and have strong technical backgrounds. They must also seek out both the hard and soft

sciences as well as humanities.

Technology has caused the flattening of the world. We are no longer able to remain in isolation. We are
connected, always connected. Our technology has permanently provided a steam of information that links
us all in ways that we have yet fathomed.

- Because the world is flat, this technology and the resulting data has to be protected. This is the job of the
Forensic / Data Security professional. We are the stewards of this technology must know not only how it

works but also how it was used.

It is this 21°* century paradox that I have dedicated my life to.

Education

The process of educating oneself can take many forms. As technology has flattened our world over the last
20 years, I have accepted that professionals must not only seek traditional lifelong learning opportunities
but they must also seek to engage other cultures, varying schools of thought and contrary views to ones
own.

Nova Southeastern University, Broward County Florida, Bachelors of Science, 1990
St. Thomas University School of Law, Miami-Dade County Florida, Juris Doctorate, 1993

Oxford University, Oxford England, PGDip — Global Business, 2017

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Certifications

In the world of consultancy, technical competency is extremely important. The issue within a technology
field is that there are many charlatans in the certification world. I pride myself on having focused on
Internationally known, directly actionable certifications that actually Insure that the individuals involved
with the certification and carries their credentials are technically proficient.

I invest more than 20 hours of training per year for the certifications listed. In some cases, I will invest
between 100 to 200 training hours per certification period.

Certified as an Information Systems Auditor (CISA), Information Systems Audit and Control!
Association, 2002

Certified as an Information Security Manager (CISM), Information Systems Audit and Control
Association, 2003

Certified in Computer Forensics, Oregon State University, 2003

Certified as an Access Data Certified Examiner (ACE), Access Data Corporation, 2009, 2015

Professional Service Experience '

My professional life has been filled with variety and challenge. The information below provides a quick
peek into the organizations I have been privileged to work with. The skills 1 have obtained at each stop
has allowed me to be more successful and more competent in the ever changing and increasingly
complicated world I have chosen to work In.

Forensic Data Services, Inc. (FDS Global} (2008 - Present)

I am the Founder, President, CEO and senior analyst at Forensic Data Services, Inc. FDS is a boutique
consulting firm that focuses on addressing compiex forensic and security issues for their clients that
transcend traditional click and review analysis approaches. FDS’ specializes in working as an important
part of the litigation or investigative team and adding value to the process by its ever-growing range of
experience and skills to meet the needs of the client and completing the objectives of the team.

Berenfeld Spritzer Schechter and Sheer (BSSS) (2006 - 2008)
I was a partner and practice leader. BSSS was a regional full service, full charge accounting firm with

offices throughout the region. I was in charge of the Digital Forensics and Investigations group (DFI)
where the group provided support for the forensic accountants and their cases as well as the audit teams.

 

 

 

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Additionally maintained its own case load and for both years of its operation DFI was the second largest
practice by sales volume and we were the smallest group by personnel making DFi a valued resource to
the firm.

Grant Thornton (GT) (2004 - 2006)

While I was at GT, I served as a director and practice leader assigned physically to the Miami market
space but worked globally overseeing digital forensics. My mandate when hired was to build the digital
forensics and capabilities of the firm both domestically and foreign. This 1 did. During my tenure at GT, I
assisted in building GT’s capabilities into a globally recognized, technically proficient force delivering
services throughout the US, Latin America, Europe and Asia. At the annual internal forensics group
meeting, projects were forced rank by revenue and. complexity. In each year of participation, my group
ran or supported 8 of the 10 top engagements in year 1 and 9 of the 10 top projects in year 2.

Rachlin Cohen and Holtz (RCH) (2000 -— 2004)

During my tenure at RCH I was tasked with the duties of the firm’s Chief Information Officer and the
complete rebuild of the firm’s 1.T. infrastructure. Additionally, I began a digital forensics consulting
practice. The first such practice in Miami. In my role of CIO, my team and 1 successfully reengineered all
technical services providing a very highly secure, streamlined operation that exists to this day. In my role
as a consulting practice leader and director, I built a successful practice that was profitable every year of
its operation and staffed with a team of 10 trained professionals at the time of my exit.

Southern Wine and Spirit (SWS) (1999 — 2000)

My mission at SWS was straightforward, 1 was hired in February 1999 because a Y2K problem existed and
this issue effected every aspect of the organization. I was hired to. oversee the remediation of the primary
warehouse and executive space of the organization that would in effect assist in remediating the Y2K
challenges the company was facing and to do so without taking the firm and its thousands of employees
and hundreds of offices off line and insure that the Y2K problem ts resolved prior to December 31, 2000. I
successfully completed my tasks.

Tew Cardenas (TW) (1997 -— 1999)

I was hired as the IT director for a major regional law firm who was having operational, logistic issues.
The firm needed a complete overhaul but without the disruption of its business units. I was hired to
complete this task. The makeover effectively covered four offices in Florida and Washington DC, it
involved to delivery of best of breed software, correcting networking, security and communication issues.
Many of the systems and designs put in place in this time period remained until the closing of the firm due
to the death of its founding partner Tew in 2014.

TNS Professionals (TNS) (1985 — 1997)

TNS was a medical staffing company with interests in the home infusion, home dialysis, mental health,

  

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home nursing, hospital department leasing and hospital employee leasing markets. TNS provided medical
professionals numbered more than 700 and supported to governmental, private and public facilities. The
professionals provided ranged from MDs to health aides. My tenure allowed me to serve in many different
organizational roles that included accounting and finance, information technology, risk management, and
in-house legal department. I served on accreditation committees, M&A committees, and governmental
contracts committee. The company was sold in 1997.

United States Army (USA) (1981 - 1987)

I was a member of the United States military form 1981 - 1987. This includes an extended period as part
of the active army and the balance in the reserves. During my tenure in the USA, I served as a member of
the Berlin Brigade and as a member of the 7" Calvary Division. During this time 1 was often deployed to
destinations designated by my superiors and was always successful in completing the missions set for my
team and I. Upon completion of my time in service I was Honorably discharged and awarded a good
conduct medal.

Investigative Service Experience

This section is to provide the reader with an understanding of the depth and breadth of cases I have
worked in my professional career. The titles are designed to provide a key theme of the case where the
descriptions are to provide a better but brief understanding of the facts that existed.

It is important to note that I cannot list all of the cases, technologies, legal issues, and craziness that this
work often leads to. I suggest that if the reader has a set of facts or specific technology concern, they are
welcome to contact me directly and we can discuss.

Lastly, within this section you will find the terms “I” , “FDS”, “We or some variation thereof. It is
important to note that where I served as the senior analyst and project manager and may refer to myself
or as part of FDS or a team, I am always supported by an incredible group of individuals, a.k.a. “my
team.” ,

Big Data Analytics (1) - Client, a third tier controlled substance reseller, was accused of knowing
purchasing controlled substance based medication from a known supplier who later proved to be part of
the illegal distribution ring. The accusation by the government was based on the idea that the Client knew
that the discounts it was receiving was too favorable for the product in question and for the vendor and
therefore they should have assumed the medication was stolen.

To address the Government's position I built a database with the client’s historical records covering a time
period of five years and then acquired data from a variety of industry recognized brokers as well as
competitor resellers. The data was normalized and a single database was built that then allowed the legal
team to run models and hypotheticals against the data to provide evidence to support what really

happened.

 

 

 

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Big Data Analytics (2) -— A large publicly traded Health Care Insurance Company’s CEO was accused of
manipulating the Stock price through a series of techniques. The extent of the fraud totaled more than

$500,000,000 (USD)..

Working as part of the investigative team and supporting both the financial team hired by the Board of
Directors as well as supporting the Federal Investigators, my team was responsible for the collection and
analysis of all communications effectively establishing the quiet conspiracy that exists between several key
members of the organization.

Big Data Analytics (3) — A large Northeastern tech firm was accused of stock manipulation by a series
of balance sheet adjustments regarding the company’s inventory and raw material. The Board of Directors
hired a forensic team to conduct an analysis of this issue as well as to perform an investigation on all ,
potentially related parties. My team assisted the forensic financial team in the extraction and analysis of
financial data and conducted the Person of Interest investigation in an attempt to identify each individual’s
knowledge and the POI's involvement in the conspiracy.

Big Data Analytics (4) - Client presents a “made for movie” tale of stalking, harassment, and computer
hacking as well as identity theft. Client claims to be harassed and stalked for more than two years. During
this time credit cards are compromised, technology has been breached, bank accounts émptied.

Stalker eventually increases the threat level through physical break-ins, death threats, more and constant
on-line attacks through social media. I was hired to address the veil of technology that the stalker was
hiding behind and to help determine how to stop the almost constant attacks.

The primary issue in this case was the overwhelming amount of data and the tens of thousands of data
points that needed to be analyzed on both the individual incident level as well as examining the data
points for relationship value in the overall attack analysis.

All of the data was reviewed and normalized and then placed into a single relational database that was
used to determine patterns of behavior and worked to tie back to specific conduct to a known person.

Embezzlement (1) — One of the first embezzlement schemes I investigated involved the bookkeeper of a
company who used a manual check system and wrote too many checks. They were able to conceal their
criminal activity by not being very good at their job so certain records were either always misplaced or lost
over time. This primary issues were: (1) the lack of duty separation, (2) no accountability, (3) no job
descriptions or systems in place. Over a five-year period, the bookkeeper stole $175,000.00 USD,

Embezzlement (2) — A variation on the embezzlement scheme Involved the accounting manager being
solely responsible for invoice generation, credit card processing and applying payments. The accounting
manager's scheme involved creating a similarly named company and would process customer payments in
a way that her employer would get the large payments but the company practice of writing off 10% —
20% would be negotiated hard and this “write-off would be seen on the A/R but in actuality the amount

 

 

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would be charged to the customer's credit card and the funds deposited in the accounting manager's new
company. The accounting manager stole $1,600,000.00 over three years. ,

Embezzlement (3) — Accounting scheme employed by a small firm bookkeeper that was. paid based
upon the collections of the practice. Bookkeeper performed all of the services of a full charge / full time
bookkeeper but instead of receiving a traditional salary, they was compensated 5% of the net collected
amount. This net amount is calculated after expenses and discounts. After about six months, the business
owners noticed a difference between what they thought would be in the bank and what was actually was
in the bank. Analysis of the data showed that the bookkeeper was taking 5% of the gross at time of .
billing. This not only violated the agreement in place but created a serious cash flow burden on the

business.

Employee Gone Bad (1) — Local professional arrives at work one morning only to discover all of his files
were encrypted and a letter from his assistant tendering her resignation and demanding 2 years
severance. In return for the severance, she could get the files unlocked. - Assistant had used one of the
office’s computers to encrypt the files and-she had left the computer on. FDS performed an analysis of the
RAM and was able to recover the password and unlock the files. The employee was prosecuted.

Employee Gone Bad (2) ~ Local professional with a large practice and his own IT team became
concerned with his IT operations and IT security and the amount of time it took to keep his operations
protected. The practice’s IT director used every weekend from Friday at 3pm to Monday-at 10am to _
update and maintain the computer systems. The business owners and the other professionals knew not to
come to work during those hours and followed these instructions for over two years.

What was really going on is that the IT director was running weekend gaming tournament and was using
the businesses systems and space to accomplish the “for profit” venture. FDS determined the following:
The operation was full every weekend and would let 37 players battle head to head for $100 for the entire
weekend. Once a month there was a tournament where the cost went up to $250 and the winner would

’ be awarded a cash prize of $1000 plus a trophy. You had to play all month to be invited to the
tournament. Every quarter the top players would be invited back and at the end of the year. It is
estimated that the IT director generated more than $200,000 USD before he was caught,

Employee Gone Bad (3) ~ There isa phenomenon in the organizations around the world. For some
reason, employees who are paid to do a job feel that the output they have been paid to do belongs to
them. This is a fallacy. Unless there is an agreement stating this, work performed by an employee and
paid for by the employer belongs to the employer. FDS Is presented with many variations of this scenario
throughout thé year. It seems that the employee is unhappy or feels that they are not properly
compensated and plans to leave or extract revenge for some wrongdoing. It is in these situations that the
employer's information, intellectual property is targeted.

In many cases, the employee will quit, having already taken copies of what they deemed to be valuable.
Equally as likely, the employee will be fired but the employer will allow them access to the company
technology after termination and it is during this time that the theft occurs.

 

 

 

 

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No matter the scenario, FDS has successfully investigated the theft of the IP and the process used to steal
the theft helping the employer to prevent the behavior in the future.

Viatical Ponzi Scheme (1) — This type of Ponzi scheme Is the fraudulent reselling of the beneficiary
rights of a life insurance policy to an investor, The owner of the policy sells the beneficiary rights to a
broker who sets the policy value based upon life expectancy and then resells the beneficiary rights to an
investor who pays a portion of the face based upon the health issues and the expected length of life of the
insured,

This particular scheme focused on the selling of the scheme as an insurance product and to engage local
agents to identify potential victims. The scheme paid huge commissions 5 to 8 times normal for a similar
legitimate product to the agent, who through their involvement provided the legitimate face to the
criminal activity.

The targets were primarily the elderly, as single investors. This allowed the criminals to avoid the scrutiny
and due diligence of institutional investors and the Securities Exchange Commission. The criminals were
successful in securing approximately $200,000,000 (USD) from the Elderly.

Viatical Ponzi Scheme (2) — The nature of the Ponzi scheme is similar to the last but with one slight
difference. Instead of being a product sold through the “insurance” industry, it was sold as an
“investment” product.

The approach was the same and the amount of monies stolen was over $1,000,000,000 (USD). A crime of
this magnitude invoived more than a petabyte of data and involved coliection and processing of
information on a scale not seen at that time.

Financial Institution (1) — Corporate office of a South Florida branch was breached through a phishing
attack. Attacker was successful in converting less than 2% of its targets but yet was successful in securing
control over sensitive data and effectively stealing approximately $100,000.00 by re-directing wired funds.
FDS’ investigation helped quickly identifies the specific email, the malware that was delivered and all
infected machines, Further work allowed for the full removal of the malware as well as the tracking of the
malware back to its origin, which was used by the Government to effect an arrest and recover the funds.

Financlal Institution (2) - International bank that discovered, froma unrelated investigation, it had
been breached asked for analysis on the Bank’s security position. FDs’ investigation determined that
information was leaking through a variety of methods and that its monitoring and contingencies were not
sufficient in protecting the client. Most importantly, FDS determined that the weakest link were the cllent’s
employees and that future breaches or data leaks would come primarily from this source.

Global Industrial Espionage (1) — International businessman with operations globally felt that his
private communications were being intercepted, The concern was that the usual suspects were not in his
native country of Argentina, technology had to be used. FDS’ investigation pursued and uncovered

 

 

 

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technology deployed in both the clients’ offices and home that allowed the spy to monitor every aspect of
the client’s life right down to what was happening in the client’s bedroom.

Global Industrial Espionage (2) - A not for profit that provided an internationally recognized
certification for its industry found itself with a two-prong problem, The CEO and the CIO were both
terminated for cause. The CEO’s termination for cause resulted in a lengthy negotiation for removal and it
was felt by the board (members were global) that the CEO was too informed on the private conversations.
FDS’ investigation uncovered that a sophisticated network of monitoring equipment had been deployed
throughout the organization that allowed the CEO and CIO direct access to any room (including
bathrooms) in any of the client’s facilities. Once discovered, the negotiations turned in favor of the not for
profit. The CIO was terminated for cause. In the CIO's negotiations, the CIO received final payment and
the databases maintained by the client began an automatic purge of its data. Quick thinking on the part of
an employee saved the company froma total loss. FDS began another investigation and determined that
the CIO had orchestrated. the attack. No criminal charges were brought and the CIO made the company
whoie.

Data Breach (1) - I was hired as an independent Investigator for a SA financial institution to investigate
a data breach of personal files belonging to key members of the client organization and their immediate
families. My work was quickly modified to include the Executive Branch of the host government to further
its own investigation. As the work developed, the hacker's identity was determined and it appears to be
well known within the host country. Further evidence helped identify how the hacker was successful in
attacking the family members, what information he took, what he used and what he sold and to whom. A
successful arrest was made following the investigation. , :

Data Breach (2) - Medical Facility with more than 18 branches found that it had been the victim of a
cyber-attack focused mainly on their cloud based services. Initially the attack appeared to be completely
random but as FDS investigated new evidence developed and provided a more sinister picture. The breach
appeared to be a concerted effort of employees “gone bad” and competitors. The company now faced with
a series of internal, external, legal and reguiatory issues, FDS assisted in securing the company, building
the case used by the legal team and assisted in addressing ancillary legal issues as well as the mandated
reporting requirements.

Evidence Destruction (2) — Client, a US company with an international reach and international
executives terminated thelr CEO for cause. The CEO, on the way out the door took confidential files to
negotiate a position with a competitor. The theft was discovered. FDS’ investigation determined that

Evidence Destruction (3) — Client, a national construction company, is going through a business
partnership divorce. As part of the process it was agreed that business data is shared but private
communications are not. Client (individual) uses corporate email account to communicate with counsel
and feels that this information is being monitored, as his ex-partner seems too informed. FDS’
investigation determines that the office manager was spying on the client fram both her terminal in the
office: and from home. FDS further determined that the business partner and the office manager then
passed on the information collection to an anonymous Gmail account that only they accessed.

   
 
 

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IMF (1) - I was retained by the Government to examine a DVR that had been used to record security
footage at a private residence. The DVR was extremely high-end .and was believed to have footage of a
serious crime on its hard drive. The DVR employed a hardware based encryption routine that made it
impossible to extract any data unless you followed the manufacturers instructions.

The governmental investigators mishandled the evidence and damaged the DVR. No data was found to be
recoverable.

1 was hired as a last resort, The device had been examined by several different agencies over an 18
month time period. All answers were the same. No Data.

My approach was to no repeat the same steps that was followed by all those who came before me and
attempted a bit by bit mapping of the drives in an attempt to determine what was drive formatting, what
was software and what was data.

I acquired a DVR that was an exact match (down to firmware and software versions) and formatted /
prepped two new drives. I then analyzed the new (pristine drives) to determine data locations and plotted
those locations. I then analyzed the evidence drives and found that the data locations matched,

I then surmised that all other data blocks on the evidence drive that were only on the evidence drive
would have to be data associated with what the device recorded. I mapped this information and then
painstakingly copied the data blocks from the evidence drive to the new drives.

When finished, I followed the manufacturers instructions and I was able to extract the video recordings .
and provide them to the government to further their prosecution.

IMF (2) — I was hired by a family who was being harassed and stalked by an unknown person, even
though there were clear indications as to who was doing this. The stalker would use technology to mask
their conduct and their identity always slightly hidden behind the technology veil.

One of the technologies employed, was a voice masking software. The software would allow the user to
disguise their voice by changing pitch, frequency and gender. This was a favorite tool of the stalker.

Eventually, I was able to obtain native recordings of the stalker. Even though the masking technology was
employed, I was able to reverse engineer the settings to remove the modifications to pitch, frequency and
gender, effectively producing the native voice of the stalker.

IMF (3) - I was hired by a physician who was accused of Medicare fraud. Proof of his innocence was
stored on the backup tapes he maintained. Unfortunately, the tapes were of a low quality VHS type and
the VHS recording method for data was never accepted as a best or reasonable practice and his system,
which had just recently failed, was one of a kind. In other words he had proof of his innocence but there
was no way to get to the data and prove it.

 

 

 

 

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I was the third expert hired by the client. I began reviewing what the previous two had done as not to |
repeat the same mistakes. Once I knew how not to proceed, my research allowed me to determine a new
course of action and the data was successfully recovered and used by the physician to resolve the matter
favorably.

Expert Witness Experience

The measure of any good expert is his ability to present his work in a court of law. He/She must be clear,
concise and easily understood. Below you will find a list and description of my testimony over the last few
years,

Latasha West v. Moral Foods, LLC., In the Circuit Court of the 17" Judicial Circuit, In and For Broward
County, Florida, Case No.: CACE-14-017346 (09), Testified as to the process and analysis associated with
surveillance video footage provided by the Defendant. (Deposition)

Coastal Construction Company of Palm Beach, Inc., d/b/a Coastal Construction of Palm Beach v. Roll
Plumbing Company, Inc., In the Circuit Court for the 11th Judicial Circuit, In and for Miami-Dade County,
Florida, Case No.: 08-56455-CA-23, Testified at Evidentiary Hearing regarding the destruction of data and
likelihood of valuable evidence existing if hard drive had not been tampered with. (Evidentiary Hearing)

Jason Lee and Fine Marketing Solutions, LLC v. Kenneth A. Orr, Evan H. Berger, Triumph Small Cap Fund,
Inc., J.D. Lauren, Inc., Solar Grid Capitol, Inc. and Ecologix Resource Group, Inc., In the Circuit Court for
the 1ith Judicial Circuit, In and For Miami-Dade County, Florida, Case No.: 2012-031582-CA-01, Testified
at Evidentiary Hearing regarding process for examining evidence. (Evidentiary Hearing)

C.T. and L.T. Individually and as the Parents and Guardians of B.T.. a Minor v. Alan Schiff, Merri Stander
Schiff, and S.S., a Minor, In the United States District Court Southern District of Florida, Case No.: 14-
61283-CIV-Scola/Otazo-Reyes, Testified at Evidentiary Hearing on Rule to Show Cause regarding the
process to examine evidence. (Evidentiary Hearing)

C.T. and L.T. Individually and as the Parents and Guardians of B.T.. a Minor v. Alan Schiff, Merri Stander
Schiff, and S.S., a Minor, In the United States District Court Southern District of Florida, Case No.: 14-
61283-CIV-Scola/Otazo-Reyes, Testified at Evidentiary Hearing on Order to Show Cause regarding the
process to examine evidence. (Evidentiary Hearing)

Caribevision Holdings, Inc., et al, v. Omar Romay, et al., In the Circuit Court of the 11th Judicial Circuit In
and For Miami-Dade County, Florida, Case No.:; 11-25608 CA 02, Testified at Evidentiary Hearing
regarding process for examining evidence. (Evidentiary Hearing)

The Florida Bar v. Jeremy W. Alters, In the Supreme Court of Florida (Before a Referee) Supreme Court
Case No.: SC14-100, Testified at Trial regarding cellphone data being deleted and process for examining
evidence. (Trial)

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Jason Lee and Fine Marketing Solutions, LLC v. Kenneth A. Orr, et al., In the Circuit Court of the 11th
Judicial Circuit In and For Miami-Dade County, Florida, Case No.: 2012-031582-CA-01, Attended Status
Conference on e-Discovery issues. (Status Conference).

Caribevision Holdinas, Inc., et al. v. Omar Romay, et al., In the Circuit Court of the 11th Judicial Circuit In
and For Miami-Dade County, Florida, Case No.: 11-25608 CA 02, Testified at Evidentiary Hearing .
regarding the standards used in an investigation and the completeness of evidence. (Evidentiary
Hearing)

In Re Application of Alianza Fiduciaria S.A. and Aquisgran Internacional S.A., In the United States District
Court Southern District of Florida, Case No.: 13-81002-MC-MARRA/MATTHEWMAN, Testified at Evidentiary
Hearing regarding recovery methods and what forensics can do. (Evidentiary Hearing)

Nicola Thompson Ho-Sang v. Florida Peninsula Insurance Company, In the Circuit Court of the 17th
Judicial Circuit In and For Broward County, Florida, Case No.: 13-607755 21, Testified at deposition
regarding metadata identified in photographs. (Deposition)

The Florida Bar v. Jeremy W. Alters, In the Supreme Court of Florida (Before a Referee) Supreme Court
Case No.: S$C14-100, Testified at deposition regarding Cell Phone Data and the forensic testing of that
data. (Deposition) :

State of Florida v. Clifton Afflick-Laidley, In the County/Circuit Court of the 17th Judicial Circuit In and For
Broward County, Florida, Case No.; 13-10864CF10A, Testified at Retrial regarding Cellular Phone Tracking
using CDR and Drive Testing as a valid/invalid means of identifying the location of the device. (Retrial)
State of Florida v. Andres Rodriquez Torres, In the Circuit Court of the 6th Judicial Circuit In and For
Pinellas County, Fiorida, Case No.: 52201 3CF018879XXXXNO, Testified at Trial regarding the reliability of
video footage and issues with missing and/or possibly altered footage. (Trial)

State of Florida v. Andres Rodriquez Torres, In the Circuit Court of the 6th Judicial Circuit in and For
Pinellas County, Florida, Case No.: 522013CF018879XXXXNO, Testified at deposition regarding the
reliability of video footage and issues with missing and/or possibly altered footage. (Deposition)

State of Florida v. Clifton Afflick-Laidley, In the County/Circuit Court of the 17th Judicial Circuit In and For
Broward County, Florida, Case No.: 13-10864CF10A, Testified at Trial regarding Cellular Phone Tracking
using CDR and Drive Testing as a valid/invalid means of identifying the location of the device. (Trial)

Rich Dad Education, Inc. v Deanna Heminger and Fortunebuilders, Inc., In the Circuit Court of the 20th
Judicial Circuit of Florida In and For Lee County, Florida, Case No.: 15-CA-000350, Testified at Evidentiary
Hearing regarding analysis of E-Mail account and Record Sharing. (Evidentiary Hearing)

State of Florida v. Clifton Afflick-Laidley, In the County/Circuit Court of the 17th Judicial Circuit In and For
Broward County, Florida, Case No.: 13-10864CF10A, Testified at deposition regarding Cellular Phone
Tracking using CDR and Drive Testing as 4 valid/invalid means of identifying the location of the device.
(Deposition)

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The Florida Bar v. Jeremy W. Alters, In the Supreme Court of Florida (Before a Referee) Supreme Court
Case No.: $C14-100, Testified at Evidentiary Hearing regarding Cell Phone Data. (Evidentiary
Hearing)

Belinda Kelly v. Anthony Johnson, In the Circuit Court of the 15th Judicial Circuit In and For Palm Beach
County, Florida, Case No.: 502015DRO000124XXXXSB, Testified at Evidentiary Hearing regarding process
involved to conduct Forensic Investigation. (Evidentiary Hearing)

 

The Florida Bar v. Jeremy W. Alters, In the Supreme Court of Florida (Before a Referee} Supreme Court
Case No.: SC14-100, Testified at deposition regarding E-Mail and Cellular Phone data. (Deposition)

State of Florida v. Sergio Barrantes, In the Circuit Court of the 17th Judicial Circuit In and For Broward
County, Florida, Case No.: 11-12770CF10A, Testified at Evidentiary Hearing regarding Peer-to-Peer
Software and Computer Forensics of P2P networks. (E€videntiary Hearing)

The Florida Bar v. Jeremy W. Alters, in the Supreme Court of Florida (Before a Referee) Supreme Court
Case No.: SC14-100, Testified at Evidentiary Hearing regarding Computer Forensics,-E-Maii, Text
Messages, metadata, and file system analysis. (Evidentiary Hearing)

State of Florida v. Arnold Maurice Mathis, In the 10th Judicial Circuit In and For Polk County, Florida, Case
No.: 2012CF-000927-XX, 2012CF-001037-XX, 2012CF-002332-Xx, 2012CF-002333-xXX, 2012CF-002334-
XX, Testified at deposition regarding Computer Forensics, Cellular Phone analysis, and Data Security.
(Deposition) ,

Ocean Bank v. Adrian Development at Pebble Walk Partnership, LLLP, In the 11th Judicial Circuit In and
For Miami-Dade County, Florida, Case No.: 08-59415 CA 21 Consolidated with Case No.: 10-63789 CA 21,
Testified at deposition regarding as to the specifics of a prior investigation I performed. (Deposition)

John Patten v. GEICO, In the Circuit Court of the 9th Judicial Court in and for Orange County, Florida,
Case No.: 2012-CA-014535-0, Testified at Trial regarding the receipt of an E-Fax and the use of the
document contained within. (Trial)

Jason Fine v. Kenneth Orr, In the Circuit Court of the 11th Judicial Circuit In and for Miami-Dade County,
State of Florida, Case No.: 12-31582 CA 40, Testified at Evidentiary Hearing regarding appointment of
Computer Expert and/or Other Further Discovery Relief. (Evidentiary Hearing)

 

Emerald Village, L.L.C. v. Pacific National Bank, N.A., In the Circuit Court of the 1ith Judicial Circuit In
and for Miami-Dade County, State of Florida, Case No.: 09-24685 CA 23, Testified at Evidentiary Hearing
regarding evidence preservation and spoliation issues. (Evidentiary Hearing)

State of Florida v. Henri Bart LaRue, In the Circuit Court of the Sth Judicial Circuit In and for Lake County,
State of Florida, Case No.: 2013-CF-000187-A-02, Testified at Trial regarding the time stamps on

   

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numerous digital recordings and the adjustment of faulty timestamps as it relates to the overall analysis
and timing of events. (Trial)

John Patten v. GEICO, In the Circuit Court of the 9th Judicial Court in and for Orange County, Florida,
Case No.: 2012-CA-014535-0, Testified at deposition regarding the existence and ready of e-mails from
the carrier to the insured. (Deposition)

United States of America v. Sean David Pickett, In the United States District Court Southern District of
Florida Fort Lauderdale Division, Case No.: 13-CR-20599-WPD, Testified at Trial regarding the collection
of evidence, analysis of said evidence and issues surrounding virtual memory analysis, computer operation
and use of Peer to Peer software. (Trial)

US Medical Care, Inc., Sasson Moulavi, M.D., and Renata Moulavi v. Kenneth N. Woliner, M.D., Holistic
Family Medicine, LLC, and Gina Ricciardi, In the Circuit Court for the 15th Judicial Circuit in and for Palm
Beach County, Florida, Case No.: 50-2010-CA-029473-XXXX-MB AA, Testified at deposition regarding
website traffic and related metrics. (Deposition)

jennifer Martinick, MBBS, Melike Kulahci, M.D., Lawrence 1. Shapiro, D.O. v. Media Visions, Inc.,.In the
United States District Court Southern District of Florida, Case No.: 0:13-cv-61148 WPD, Testified at
Evidentiary Hearing regarding evidence preservation and spoliation issues. (Evidentiary Hearing)

Department of Health, Board of Medicine y. Peter Choy, M.D., State of Florida Division of Administrative
Hearings, Case No.: 13-004280PL, Testified at deposition regarding information mined from an Electronic
Medical Records System and variations associated with the data extracted. (Deposition) :

Winston Towers 300 Condominium Association, Inc. v. QBE Insurance Company, In the 11th Judictal
Circuit In and For Miami-Dade County, Florida, Case No.: 10-45030 CA 05, Testified at deposition.
regarding documents which were produced from an Agent of the Plaintiff and whether or not the
documents were produced in an authentic and unaltered state. (Deposition)

State of Florida v. Joseph D. Baldino, In the Circuit Court of the 19th Judicial Circuit In and for Saint Lucie
County, State of Florida, Case No.: 56201 1CF001300A, Testified at Evidentiary Hearing on issues
surrounding IP address matching to physical location. (Evidentiary Hearing)

State of Florida v. Pienord St. Fort, In the Circuit Court of the 17th Judicial Circuit In and For Broward
County, Florida, Case No.: 10-18683 CF10A, Testified at deposition regarding information discovered
regarding on line application for position on Monster.com and Email communications between Defendant
and other parties of interest. (Deposition)

John H. Jervis, et.al. v. Jose Castaneda, et al., In the Circuit Court of the 15th Judicial Circuit In and For
Palm Beach County, Florida, Case No.: 502011CA006657XXXXMBAE, Testified at deposition three separate

 

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times on issues surrounding Electronic Signature Authentication and other items identified as part of my
expert opinion. (Deposition x3)

State of Florida v. Alexander Whitaker, In the Circuit Court of the 17th Judicial Circuit In and For Broward
County, Florida, Case No.: 12003410CF10A, Testified at deposition as to findings regarding criminal
charges and data found on media reportedly belonging to the Defendant. (Deposition)

United States of America v. Alexander Michael Roy, United States District Court Southern District of
Florida, Case No.: 12-14022-CR-Moore/Lynch, Testified as to findings regarding the contents of the media
reportedly belonging to the Defendant. (Trial) -

Anne Abraham et al v. MHM Solutions, Inc. et al., In the Circuit Court of the 17th Judicial Circuit in and
For Broward County Florida, Case No.: 09-46153 (05), Testified at Evidentiary Hearing regarding the
protocol required to correctly collect, process, and produce Electronically Stored Information.
(Evidentiary Hearing).

United States of America v. Spencer Scott Kellam, United States District Court Southern District of Florida,
Miami Division, Case No.: 11-60206-cr-Hurley/Vitunac, Testified at Evidentiary Hearing regarding findings
by US Bureau of Prisons background investigation of the Defendant. (Evidentiary Hearing)

State of Florida v. Samuel Martin, In the County Court for the 6th Judicial Circuit In and For Pasco County,
Florida, Case No.: CTC1103816MMAWS-17, Testified at Evidentiary Hearing regarding the metadata
associated with pictures and an SD card reportedly belonging to Defendant. (Evidentiary Hearing)

State of Florida v. Bruce Alperstein, In the Circuit Court In and For Santa Rosa County, Florida, Criminal
Division B, Testified at Evidentiary Hearing regarding issues with the authenticity and validation of the
electronic evidence collected, processed and copied by the Government. (Evidentiary Hearing)

‘Zip Wireless Products, Inc., Z-Think, LLC v. Brian Moroney, et al., In the Circuit Court of the 9th Judicial
Circuit In and For Orange County, Florida, Circuit Civil Division, Case No. 10-CA-17309-32, Testified at
deposition regarding computer artifacts identified as being related to potential hacking of company IT
infrastructure. (Deposition)

Mary Laurine Umstead v. Horizon Bay Mat., LLC, et al., In the Circuit Court of the 13th Judicial Circuit of
the State of Florida In and For Hillsborough County, Circuit Civil, Testified at Trial as to whether or not the
information contained in an Electronic Medical Record system was accurate and whether or not certain
operational practices were followed. (Trial)

In re: Rothstein Rosenfeldt Adler, P.A., US Bankruptcy Court for the Southern District of Florida, Case No.:
09-34791-BKC-RBR, Testified at Evidentiary Hearing to qualifications and to be appointed as the Court's
expert. Accepted as an Expert and appointed to address complex technical issues facing the Court and
issued a report on the same. (Evidentiary Hearing)

United States of America v. Michael Meister, United States District Court Middle District of Florida, Case

 

 

 

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No. 8:10-CR-339-T-26AEP, Testified at Evidentiary Hearing regarding the complex issues involved in the
collection, preservation, review, and analysis associated with the Governments case. (Evidentiary

Hearing)

United States of America v. William Vazquez Rivera, In the United States District Court for the District of
Puerto Rico, Criminal Number 09-361 (JAF), Testified at Trial regarding issues with identifying the specific
location of a computer as well as identifying the individual who was at the computer at a specific date and
time. (Trial) ,

Mathew Beck, et al. v. Boce Group, LLC d/b/a Next Café, et al., US District Court for the Southern District
of Florida, Case No.: 04-20683-CIV-Cooke, Testified regarding the destruction of computer data, the
existence of an audit trail and the possible manipulation of time keeping records. (Deposition and Trial)

Health Trio v. Ralph Korpman, et al., In the Chancery Court for Davidson County, Tennessee, 20th Judicial!
District, Civil Action No., 05-559-IU], Testified on the potential destruction of evidence, possible violation
of a court order preserving all information on the computer, and the possible destruction of evidence
through the use of file scrubbing software. (Deposition and Trial)

- William P. Planes, Sr. v. Rocky Shirey, et al., In the Circuit Court for the 6th Judicial Circuit in and for
Pinellas County, Florida, Case No.: 06-9077-CI-19, Testified at Evidentiary Hearing regarding issues
involving the identification and preservation of data belonging to the Defendants. (Evidentiary Hearing).

jan Bronstein v. Mare Bronstein, United States District Court, Southern District of Florida; Case No.: 06-
80656, Testified at deposition regarding the ownership and go-live date of a company’s website and its
domain. (Deposition)

In Re: The Marriage of Stuart Pressman and Wendy Bulgrin, In the Circuit Court of the 17th Judicial Circuit
in and for Broward County, Florida, Case No.: 06-008172, Testified on topics that included the collection,
preservation, processing of data stored within a Point of Sale System, used by the couple’s business and
inventory issues. (Evidentiary Hearing, Deposition, and Trial)

Building Education Corporation v. Jose Manuel Fernandez, et al., In the Circuit Court of the 11th Judicial
Circuit in and for Miami Dade County, Florida, Case No.: 03-15909 CA 09, Testified at Evidentiary Hearing
providing information to the Court for possible selection as a neutral expert in the investigation and
tracking ESI through a large IT infrastructure. (Evidentiary Hearing)

Microsoft Corporation v. Big Boy Distribution, LLC, In the United States District Court in and for the
Southern District of Florida, Case No.: 07-80296-CIV-Hurley/Vitunac, Testified at deposition regarding the
examination of Plaintiffs expert’s report and the methods used by said expert in coming to their
conclusions. (Deposition)

Orlando/Orange County Expressway Authority v. Tuscan Ridge, et al., In the Circuit Court of the 9th

 

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Judicial Circuit in and for Orange County, Florida, Case No.: 2006-CA-006250-0, Testified at Evidentiary
Hearing regarding establishing the true and correct Metadata information associated with computer files
created by an expert in an Eminent Domain action. (Evidentiary Hearing).

Med Data Infotech USA, Inc. v. Unnikrishnan Thankappan, et al., In the Circuit Court of the 6th Judicial
Circuit in and for Pasco County, Florida. Case No.: 51-2004-CA-00321WS, Testified at deposition
regarding the contents of several hard drives containing information relating to computer software created
by the Plaintiff. (Deposition)

F&F Contractors, Inc. v. Turner Construction Company, et al., In the Circuit Court of the 11th Judicial
Circuit in and for Miami-Dade County, Florida, Complex Business Litigation Section, Case No.: 02-32516-
CA-40, Testified at Evidentiary Hearing regarding addressing the coilection, preservation, processing,
analysis, and possible destruction of evidence. (Evidentiary Hearing) ,

Benjamin J. Philips, III v. Oracal USA, Inc., In the Circuit Court of the 4th Judicial Circuit, in and for Duval
County, Florida, Case No.: 16-2007-CA-006905-XXXX-MA, Division CV-E, Testified at Evidentiary Hearing
regarding issues surrounding the destruction of evidence from a company owned laptop used by the
Plaintiff. (Evidentiary Hearing).

Jessica Lane v. Adam Gerry, In the Circuit Court for the 20th Judicial Circuit in and for Collier County,
Florida, Civil Action No. 08-9521-CA, Testified at deposition regarding issues surrounding the
disappearance of a laptop and the Information found on the device after it had been recovered.
(Deposition)

 

Teaching and Lectures by Topic

Teaching others about the complex and often convoluted world of digital forensics and information security
is the only way one can be sure that the correct information is being shared. I have always dedicated my
self to sharing my passion with those who want or need to know. This section shares only a small part of
my efforts over the last few years.

« Adjunct Professor - IE Business School, Madrid Spain, Masters in Cyber Security, My area of
responsibility Is in Digital Forensics and Computer Crimes.

e Computer Forensic Issues important to the Criminal Defense Bar. Private event sponsored by FDS.
May 2016, Event provided instruction on six different forensic challenges facing criminal defense
attorneys in practice.

e Mobile Devices and BYOD/CYOD: the eDiscovery Challenges, Panelist, LawTech Europe Congress
2015 Conference, October 2015.

 

 

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e The Lifecycle of Electronic Evidence - Have we Finally Got it Right?, Panelist, LawTech Europe
Congress 2015 Conference, October 2015.

e Cellular Phone Tracking Via Cell Towers - Dispelling the Post Mortem Analysis Myth, 7th European
Academy of Forensic Science Conference, September 2015.

« Digital Security and the Dangers Facing Every Employer, 7th European Academy of Forensic
Science Conference, September 2015.

* Cellular Phone Tracking Via Cell Towers - Dispelling the Post Mortem Analysis Myth, High
Technology Crime Investigation Association, August 2015.

* 48 Hours of a Cyber Security Breach - What To Do From a Technical Standpoint: A First
Responder Case Study, The Daily Business Review's Corporate Counsel Summit, May 2015.

e« Data Security: What is a RAT? (Remote Access Trojan), Daily Business Review’s Corporate Counsel
Summit, November 2014. .

e Data Security, Keeping Your Database, Customer Information and Other Proprietary Information
Safe and What To Do If There Is A Security Breach, Daily Business Review's Corporate Counsel
Summit, April 2013.

‘» Data Security, LawTech Miami, November 2013.

Publications
In my role as an expert, I am required to keep a list of all publications I produce. 1 belleve the

importance of informing the interested public on the latest issues in my Industry and the written word is
an excellent way to accomplish this task. Here is the most recent jist of publications.

* Globalization and Data Protection - An Analysis of Practicality, PGDIP — Global Business, Oxford
University, February 2017.

e Electronic Discovery - 21°* Century Road map, Georgia Defense Lawyers Association Periodical,
May 2006.

e firms Face Forensic Challenge, South Florida Business Journal, May 2006.

* Flectronic Discovery: A Smart Five-Step Approach, South Florida Legal Guide, November 2006,
Reprinted 2007.

» What Every Business Needs to Know about Evidence Preservation and Electronic Discovery Issues,

 

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September 2007.

« Forensic Times Newsletter, 2007 & 2008. (Trade Publication produced by firm)

« Discovery Requests: Knowing when and how to proceed can save thousands and the case, Smart
Business, May 2008.

(KTWP) White Papers

Recently, I was asked to review and comment on a series of industry related white papers. I found them
to be written commercials with little value to the reader. In response to this offense to my visual senses, I
have started developing “KTWP.” This acronym stands for Knowledge Transfer White Papers. This format
is designed to educate and provide material so that the reader has an actionable document to move
forward with their work.

* How to obtain information from an Internet Service Provider, 2016,

« Electronic Discovery - Comparing the Current Choices in Review Platforms, 2016.

Innovations

 

The need for constant innovation is a must. Technology and its inevitable exploitation continue to grow at
an alarming rate. We must pursue new and creative ways to perform our tradecraft. To this end, I (We)
(FDS) continue to develop new technologies and redesign workflows so that the processes and
technologies designed to help collect, preserve, analyze, present, protect and share information remains
equal to or surpasses conventional equivatents. ,

® Dataferret — Designed and built in the US. The Dataferret is a self contained, mobile collection
device that is intended to allow anyone, no matter their technical ability to collect (forensically
image) the contents of a computer hard drive. In its five years of constant developments it
currently sits at version 5.0 that allows for multiple collections from a single hard drive, targeted
collection of specific files, search capabilities, and whole drive encryption to protect the collected
contents.

e Pandora — Designed as an answer to the global investigative challenge of how does one examine
data storage devices for stolen information without reviewing the physical contents of the devices?

The answer is Pandora!

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Pandora is a hybrid of products and processes that permit the examination of any data storage
device and determine if, either the exact content, partial content or derivative content exists.
Pandora provides a platform to identify and drill down to specific files either by hash value,
search terms, date filters as well as others. Pandora’s processes permit the selection of the most
relevant, exacting content while avoiding the owner's arguments of privilege, relevancy, cost,
time, and disruption. ,

e Kinetic Information Survey System (K.LS.S) - KISS is a long overdue response to the Electronic
Discovery Review Platforms currently in use. KISS was designed and is now being used as a no
cost solution to the high priced hosted platform solutions currently used everywhere.

KISS was developed with the help of legal professionals and obtaining an understanding of what
is really important in the discovery / data review process and what is identified as feature rich
add-ons that add little value but increases the cost.

KISS is designed to be an effective review platform that requires little to no training, it provides
scalability, security and is immediately actionable by the reviewer.

» FDS- Secure Phone — Designed to meet the needs of private clients with personal, business and
political interests in need of protection. The devices are built on a smartphone platform and can
support telephone numbers throughout the world. The technology employs the latest available
encryption techniques and leverages available technologies providing a near seamless use and
high valued customer experience.

What makes FDS Secure Phone different is that it is not just a phone; it is a custom designed
solution to meet the unique habits of its user(s}. FDS performs an analysis of how the technology
will be used and then works to meet those needs... The security solution is designed around the
user. This approach gives the user the best chance to remain secure and to continue to use and
have confidence in ones own security.

e FDS -—NSA Databases - The NSA database stands for “Never Stop Analyzing.” In the digital
world we find ourselves in, our devices monitor everything we do. They track our movements,
our search preferences, our likes / dislikes and millions of other data-points that we have no idea
the information is being gathered and stored. Our NSA database approach allows us to work with
clients to gather this plethora of data points and relate them. This holistic approach to data
analysis often brings together evidence to tell what really happened and often removes
anonymity and ambiguity from the investigation,

 

 
  
 
 

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Affiliations

In the unregulated market space as “litigation support,” | have always been cautious about whom I have
associated myself with and how | wanted my name and reputation perceived. I am proud to be associated
with the following organizations and what they stand for.

e High Tech Criminal Investigation Association (HTCIA) - This is an organization of-professionals,
from both the public and private sectors dedicated to the securing, investigating and stopping
technology based crimes.

e Information Systems Audit and Control Association (ISACA) — This is an organization of
_ professionals dedicated to understand, test, audit, control and verify that information is what it is
reported to be and to keep that information safe and resilient.

* Oxford University — This globally recognized university is an incredible resource. My |
relationships have assisted my clients in understanding technology and business issues as well as
provided direct support to my international clients when traditional resources were less helpful.

e Nova Southeastern University — This nationally recognized university has a reputation fora
strong presence in both the digital security and legal communities. Nova has provided resources
ona plethora of issues that have benefited my clients domestically and abroad.

 

   

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Work Distribution

Over the last seven years, FDS has been fortunate to work in more than 200 industries and sub industries
and have been involved in approximately 1,000 different engagements. FDS has collected more than
5,000 pieces of evidence and | have delivered testimony of some sort well in excess of 60 times. The
following charts represent what we have done and whom we have worked for:

 

 

Engagements by Party

i Plaintiff (56.3%)

st Defendant (29.7%)
«i Neutral (12.5%) |
bi Hybrid (1.5%)

 

 

 

 

 

 

 
 
 
 
 

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Engagement by Location

ii Florida (56%)
ii Chicago (20%)
# Other US (5%)

3 international (19%)

 

 

 

 

Engagement by Type

Civil (45.8%)
= Criminal (80.5%)
= Family Law (3.7%)

@ Insurance (20%)

 

 

 

 

Disclaimer

 

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accurate at the time of printing. The document is seen as a living breathing organism and will be updated
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